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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


     IN RE: ZANTAC (RANITIDINE)                                                     MDL NO. 2924
     PRODUCTS LIABILITY                                                              20-MD-2924
     LITIGATION
                                                        JUDGE ROBIN L. ROSENBERG
                                               MAGISTRATE JUDGE BRUCE E. REINHART

     _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                    PRETRIAL ORDER # 25
                 Protocol for Treatment of Privileged and Work Product Materials

        This Order shall govern the treatment of all privileged and work product materials in MDL

 2924. This Order applies equally to all parties, who for the purposes of below shall be designated as

 either the “Producing Party” or the “Receiving Party.”

   I.      FEDERAL RULE OF EVIDENCE 502

           1.     Pursuant to Federal Rule of Evidence (FRE) 502(d), the production of privileged

   or work-product protected documents, ESI or other information, whether inadvertent or otherwise,

   is not a waiver of the privilege or protection from discovery in this case or in any other federal

   proceeding.

           2.     This Order shall be interpreted to provide the maximum protection allowed by FRE

   502 and shall be enforceable and granted full faith and credit in all other state and federal

   proceedings by 28 U.S. Code § 1738. In the event of any subsequent conflict of law, the law that

   is most protective of privilege and work product shall apply.

           3.     Nothing contained herein is intended to or shall serve to limit a Party’s right to

   conduct a review of documents, ESI or information (including metadata) for relevance,

   responsiveness and/or segregation of privileged and/or protected information before production.
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   II.    Privilege Log Production

          1.      The parties shall comply with the Federal Rules of Civil Procedure and, to the

   extent they do not conflict with the provisions of this Order, the Local Rules of the United States

   District Court for the Southern District of Florida, regarding the production of privilege logs, as

   set forth more fully below. With the exception of those materials described in paragraph 2 that

   need not be logged, any document falling within the scope of any request for production or

   subpoena that is withheld on the basis of a claim of privilege, work product, or any other legal

   privilege is to be identified by the Producing Party in a privilege log, which the Producing Party

   shall produce in an electronic format (i.e., Excel format) that allows text searching, sorting, and

   organization of data. The documents that are produced with redactions based on a claim of

   privilege shall be Bates numbered using the same Bates numbering format agreed to by the parties

   for regular document productions, and shall be listed on the Producing Party’s privilege log in

   Bates order as further described in Section 2 below. The documents withheld from production

   based on a claim of privilege will have a unique identifying number assigned to each document on

   the privilege log. The Producing Party shall produce a privilege log within forty-five (45) days

   after the production of documents that contain documents that were withheld based on an assertion

   of privilege. A Party shall produce a master privilege log in a searchable and sortable format (e.g.,

   Excel or CSV) that shall be updated as necessary following a document production. The log shall

   have a field that contains the date of the production (or Production Number) to which the individual

   log entry relates. Privilege logs need not be produced in native format provided they are produced

   in a searchable and sortable format.




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          2.       No privilege log entries shall be required as to the following categories of materials,

   and any applicable privilege or protection shall be preserved even if such materials are not listed

   on a Producing Party’s privilege log:

          a. Attorney-client communications between a defendant and its Counsel after the start of

               Litigation as to that defendant. For purposes of this Order only, the Litigation is

               deemed to have started on September 13, 2019;

          b. Attorney-client communications between a plaintiff and their Counsel after the date on

               which a retention agreement related to the Zantac litigation was executed;

          c. Attorney work-product created after September 13, 2019, for defense counsel, or after

               counsel was retained by the plaintiff, for plaintiffs’ counsel.

          d. Internal communications within (i) a law firm or (ii) a legal department of a defendant

               after the start of the Litigation;

          e. Documents and communications between outside counsel or outside counsel and in-

               house counsel for the parties after the start of the Litigation; and

          f. Documents and communications between and/or among outside counsel that has been

               retained by a Party in this Litigation and the Party, litigation technology consultants or

               providers, any non-testifying experts, and, with respect to information protected by Fed.

               R. Civ. P. 26(b)(4), testifying experts.

          g. Privilege redactions made on the face of produced documents, provided that any such

               documents have been identified on the “Redacted Documents Not Requiring Detailed

               Logging” listing that the Producing Party provides, as set forth more fully in Section

               II.3.




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          3.       For each document to which a Producing Party asserts that a privilege applies and

   inclusion on a privilege log is required, the Producing Party must include in the privilege log the

   information required by Federal Rule of Civil Procedure 26(b)(5) and, to the extent they do not

   conflict with the provisions of this Order, the Local Rules of this Court and other identifying

   information, including, as to documents other than those described in Section II.2.g above:

          a. the nature of the privilege (including work product) that is being claimed;

          b. the Bates number(s) of the document claimed to be privileged if produced in a redacted

               form, and a unique identifying number for documents withheld on a claim of privilege

               (e.g., a Bates number or privilege log reference number);

          c. a description of the nature of the document, communication or tangible thing that is

               sufficient to understand the subject matter of it, not disclosed or produced in a manner

               that, without revealing information itself privileged or protected, will enable other

               parties to assess the claim;

          d. the date of the document, if available, or, for communications, the date sent and date

               received, if available;

          e. the subject/title and document type, unless the subject/title itself contains privileged

               information in which case a reasonably objective “substitute” subject/title will be

               provided in a manner that, without revealing information itself privileged or protected,

               will enable other parties to assess the claim;

          f. the identity of its author, addressee(s), and any other recipient(s), including in a

               separate column any individuals carbon copied and blind carbon copied;

          g. indication (e.g., with an asterisk) of which individual(s) (authors and recipients) are

               attorneys, paralegals, or legal assistants;



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          h. information identifying the source of the withheld document (e.g., the relevant

               custodial file). This provision does create an obligation to update the source field of

               the document if a duplicate document is later identified; and

          i. whether the document is withheld or redacted.

          The log will contain two components, one listing documents withheld from production or

   redacted and requiring logging (“Fully Logged Documents”), and meeting the requirements of

   subparts (a) through (h) of this section, and one as to documents described in Section II.2.g (where

   privilege redactions, branded as such, are made on the face of produced documents and the

   unredacted portion of the document provides the information sufficient to allow the Receiving

   Party to assess the claim of privilege) (“Redacted Documents Not Requiring Detailed Logging”).

   As to Redacted Documents Not Requiring Detailed Logging, the Producing Party shall provide for

   each document: Beginning Bates, End Bates, and Date of Production. Should the Receiving Party

   reasonably believe that the unredacted portions of the document do not provide the information

   sufficient to allow the privilege claim to be assessed, it may request, and the Producing Party shall

   promptly provide, additional information, consistent with this section, to enable the privilege claim

   to be assessed.

          4.         A Party need include only one entry on the log to identify withheld privileged

   emails that constitute an uninterrupted dialogue between or among individuals; provided, however,

   that disclosure must be made that the emails are part of an uninterrupted privileged dialogue and

   include the Bates range for the entire uninterrupted dialogue. Moreover, the date and time of the

   latest-in-time email must be disclosed, in addition to other requisite privilege log disclosure

   referenced above, including the names of all of the authors and recipients (including carbon copied

   and blind carbon copied recipients) of the uninterrupted dialogue. For purposes of this section,



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   the term “uninterrupted dialogue” shall mean a chain of emails reflecting multiple communications

   taking place over a reasonably short time period and involving a common subject matter, such that,

   were each email to be separately logged, the qualitative information necessary to assess each claim

   of privilege would be essentially the same for each email.

          5.      As an alternative to the procedure set forth in Paragraph 3 above, the parties may

   meet and confer about the use of categorical and/or metadata privilege logs. Reasonable proposals

   from any Producing Party concerning the use of categorical and/or metadata privilege logs shall

   be reasonably considered by any Receiving Party and, if refused, the Receiving Party shall set

   forth in writing the reason for the refusal. If the Receiving Party refuses, nothing in this Order

   prevents the Producing Party from raising this issue with the Court.

          6.      Notwithstanding the assertion of a privilege objection, any purportedly privileged

   document containing non-privileged matter must be disclosed with the purportedly privileged

   portion redacted, with the redacted portion indicated on the document itself and listed on the

   privilege log in a manner consistent with Section II.3.

          7.      To assist in the prompt resolution of disputed claims of privilege, upon request by

   the Court, the Producing Party shall submit to the Court under seal, un-redacted copies of all

   documents for which it asserts a privilege.

   III.   List of Individuals Identified on Privilege Logs

          At the time it produces any privilege log, the Producing Party shall also produce a separate

   list of individuals identified on the privilege log. This list shall include: a) in alphabetical order

   (by last name, then first name) all individuals identified on the privilege log, b) any aliases for

   such individuals known to the Producing Party, c) the job title of each individual listed, if known

   to the Producing Party, d) department they work within, if applicable, and if known to the



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   Producing party and e) the employer of each individual at the time of the privileged

   communication, if known to the Producing Party. This list shall be produced by the Producing

   Party in an electronic format (e.g., Excel format) that allows text searching, sorting, and

   organization of data, and shall be produced in a cumulative manner, so that each subsequent list

   includes individuals from prior lists. The Producing Party will honor subsequent reasonable

   requests to identify whether a specific individual is not currently employed by the same employer

   as reflected on the log pertaining to employment at the time of the communication.

   IV.    Production of Privileged Materials

          1.      This Order invokes the protections afforded by Federal Rule of Civil Procedure

   26(b)(5)(B) and Federal Rule of Evidence 502. If a Producing Party produces (or discloses) to a

   Receiving Party any documents or information subject to a claim of privilege or immunity from

   discovery (the “subject materials”) (including but not limited to attorney-client privilege, work

   product, and immunities created by federal or state statute or regulation), such production (or

   disclosure) shall not be deemed a waiver in whole or in part of the Producing Party’s claim of

   privilege or immunity from discovery pursuant to FRE 502(b), either as to specific documents and

   information produced (or disclosed) or on the same or related subject matter, either in this case or

   in any other federal or state action, investigation, or proceeding.

          2.      In the event that a Producing Party discovers that it produced (or disclosed) to a

   Receiving Party any documents or information subject to a claim of privilege or immunity from

   discovery, the Producing Party shall, promptly within twenty (20) days after its actual discovery

   of the production or disclosure, notify (a “clawback” notice) the Receiving Party in writing of the

   production or disclosure of materials protected by any privilege or immunity. The Producing Party




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   shall provide or supplement a privilege log with a description of the subject materials at the same

   time of providing its written notice.

          3.      Upon such notice, and consistent with Federal Rule of Civil Procedure 26(b)(5)(B),

   the Receiving Party shall immediately sequester all copies of the document, including any copies

   in the possession of counsel and retained consultants or experts. The Receiving Party shall inform

   the Producing Party within 10 days if it intends to challenge the designation of the document or if

   it agrees the document is properly designated as privileged.

          4.      If the Receiving Party intends to challenge the privilege designation, consistent

   with Federal Rule of Civil Procedure 26(b)(5)(B), it shall continue to sequester all copies of the

   document, including any copies in the possession of counsel and retained consultants or experts,

   pending Court resolution of the challenge, and shall not make any further use of the document.

          5.      If the Receiving Party agrees that the document is properly designated as privileged,

   consistent with the Federal Rule of Civil Procedure 26(b)(5)(B), the Receiving Party shall

   promptly refrain from further copying or distribution of the subject materials, return or destroy all

   copies of the document including reasonable steps to retrieve all copies that have been distributed

   to counsel or non-parties, and destroy the portion of any work product that describes or contains

   the content of the subject materials.

          6.      Where the parties agree, or the Court orders that, an inadvertently produced

   document is protected by the attorney-client, work product, or other privilege, and such document

   was originally produced in electronic format on media containing production materials that are not

   subject to any exemption from production, the Producing Party shall, to the extent necessary,

   promptly provide replacement production media to the Receiving Party.




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          7.      Nothing in this Order shall relieve any attorney’s ethical responsibilities to

   immediately refrain from examining or disclosing materials that the attorney knows or reasonably

   should know to be privileged and to inform the Producing Party that such material has been

   produced or disclosed.

   V.     Challenges to Privilege and/or Work Product Claims

          1.      If the Receiving Party has a good-faith basis for challenging a privilege designation

   or any redaction, counsel for the parties shall initially attempt to resolve the issue through

   discussions. The Receiving Party must give the Producing Party an opportunity to review the

   withheld or redacted material and meet and confer. The challenge shall concisely explain in

   writing the basis of the challenge(s), and shall identify by Bates number or by reference to a

   specific privilege log entry, and not by category, the redaction or privilege designation subject to

   the challenge. For a challenge of up to 50 documents, the Producing Party shall have 14 days from

   receiving such written notice of the challenge to either explain in writing the basis of the privilege

   assertion or agree to produce or unredact the document. For 51-300 documents, this 14-day period

   is extended to 28 days. If more than 300 documents are challenged within a 28 day-period, the

   parties will meet and confer on a schedule for the Producing Party to respond. This period and

   number and timing of documents challenged may be modified by agreement of the parties.

          2.      If these discussions prove unsuccessful, counsel may file a motion with the Court,

   pursuant to any applicable pretrial order, requesting that the Court conduct an in camera inspection

   of a document, on the issue of whether certain information is entitled to redaction or privilege.

   Before filing such a motion, the parties must reach an agreed briefing schedule that allows the

   Producing Party a reasonable amount of time to collect evidence (including affidavits) in support

   of its claim of privilege or immunity. Nothing in this Order is intended to alter the applicable law



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    regarding burdens of proof in supporting or challenging claims of privilege or waiver of privilege,

    which generally provides that the party asserting privilege or making the redaction shall have the

    burden of proof on such motion to establish the propriety of its privilege designation or redaction

    or, when applicable, and upon sufficient allegations that the privilege has been waived, that the

    privilege was not waived. See, e.g., MapleWood Partners, L.P. v. Indian Harbor Ins. Co.,

    295 F.R.D. 550, 584 (S.D. Fla. 2013).

            DONE and ORDERED in Chambers, West Palm Beach, Florida, this 1st day of June,

    2020.

                                                  _______________________________________
                                                  ROBIN L. ROSENBERG
                                                  UNITED STATES DISTRICT JUDGE




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